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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL 1, et al., for themselves         )
  and all others similarly situated,          )
                                              )
                      Plaintiffs,             )
  v.                                          )      No. 8:21-cv-2429-SDM-TGW
                                              )
  LLOYD AUSTIN, in his official               )
  capacity as Secretary of the United         )
  State Department of Defense, et al.,        )
                                              )
                      Defendants.             )

            PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
          OF PLAINTIFF MAJOR, UNITED STATES MARINE CORPS

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, MAJOR, United States

 Marine Corps, hereby gives notice of his voluntary dismissal without prejudice of all

 claims in this action. This Notice is given prior to the filing of an answer or motion for

 summary judgment, and therefore requires neither a stipulation of dismissal nor an

 order of the Court. This Notice does not dismiss the claims of any other Plaintiff.
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       Respectfully submitted,

                                          /s/ Daniel J. Schmid
                                          Mathew D. Staver
                                          Horatio G. Mihet
                                          Roger K. Gannam
                                          Daniel J. Schmid*
                                          Richard L. Mast*
                                          LIBERTY COUNSEL
                                          P.O. Box 540774
                                          Orlando, FL 32854
                                          (407) 875-1776
                                          court@lc.org
                                          hmihet@lc.org
                                          rgannam@lc.org
                                          dschmid@lc.org
                                          rmast@lc.org
                                          *Admitted specially

                                          Attorneys for Plaintiffs




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